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                                               April 20, 2018

  VIA ECF AND FEDERAL EXPRESS

  Honorable Susan D. Wigenton
  United States District Court
  District of New Jersey
  Martin Luther King Building & U.S. Courthouse
  50 Walnut Street
  Newark, NJ 07101

         In Re: Zimmer Durom Hip Cup Products Liability Litigation
                2:09-cv-04414 (DFW)(SCM) (MDL 2158)

  Dear Judge Wigenton,

         This firm, along with Carella, Byrne, Cecchi, Agnello & Brody, P.C., are Plaintiffs’ Co-
  Liaison counsel in the above referenced litigation. We submit this letter in response to the
  Motion Seeking Disbursements from Common Benefit Fund, which was filed by the Waters &
  Kraus, LLP firm on April 18, 2018. For the reasons set forth below, the motion should be denied
  and an orderly application and distribution process should be established as is normally done
  regarding the distribution of common benefit fees.

          First, we believe that all counsel in the MDL who may have contributed to the common
  benefit of all plaintiffs should have an opportunity to make common benefit applications. As
  noted in movant’s brief, on February 2, 2018, Mr. Henderson “sent a letter to his fellow members
  of Plaintiffs’ Liaison counsel inviting each firm to submit its recorded expenses and hours.”
  [Doc. No. 972-1, at 5.] This is not an orderly process, nor did it include all MDL counsel who
  may have contributed work that benefited the overall prosecution of the case. 1

           Second, applications for common benefit fees and expenses should be reviewed and
  evaluated based on pre-specified guidelines, before recommendations are made to the Court for
  the disbursement of funds. Over the years, various methodologies have been utilized by MDL
  courts but it is fair to say that such evaluations not only consider the number of hours worked on
  a case by a given firm (as one data point) but of equal significance the impact of that work to the
  litigation. We suggest that an application protocol be developed and provided to all counsel,
  before the Court consider any individual applications.

          Given our firms’ collective experience in mass tort litigation and resolution, we propose
  that the Court appoint Mr. Cecchi and myself to develop and administer a common benefit
  application process for all plaintiffs’ counsel. At a minimum, we respectfully request that the

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    This letter was sent via email rather than filed on ECF and thus, was only provided to
  Plaintiffs’ Co-Liaison Counsel. See id.
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  Court deny movant’s motion so that all counsel can be given a fair opportunity to make common
  benefit applications.

                                            Respectfully submitted,

                                             /s/ Christopher A. Seeger
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  cc:    James E. Cecchi, Esq.
         All Counsel of Record (via ECF)
